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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    PEGGY SASSO, Bar #228906
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    EUDALDO GARCIA-SALAS
7
                                   IN THE UNITED STATES DISTRICT COURT
8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,             )               NO. 1:11-CR-00339 AWI-DLB
                                           )
11                     Plaintiff,          )
                                           )               WAIVER OF DEFENDANT’S PERSONAL
12         v.                              )               PRESENCE; ORDER THEREON
                                           )
13   EUDALDO GARCIA-SALAS,                 )
                                           )
14                     Defendant.          )
                                           )
15   _____________________________________ )
16          Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, Eudaldo Garcia-Salas, having been advised of
17   his right to be present at all stages of the proceedings, hereby requests that this Court proceed in his
18   absence on every occasion that the Court may permit, pursuant to this waiver. Defendant agrees that his
19   interests shall be represented at all times by the presence of his attorney, the Office of the Federal
20   Defender for the Eastern District of California, the same as if Defendant were personally present, and
21   requests that this court allow his attorney-in-fact to represent his interests at all times. Defendant further
22   agrees that notice to Defendant's attorney that Defendant's presence is required will be deemed notice to
23   the Defendant of the requirement of his appearance at said time and place.
24
25          DATED: June 22, 2012                            /s/ Eudaldo Garcia-Salas
                                                            EUDALDO GARCIA-SALAS
26
27
            DATED: June 22, 2012                             /s/ Peggy Sasso
28                                                          PEGGY SASSO
                                                            Assistant Federal Defender
                                                            Attorney for Eudaldo Garcia-Salas
              Case 1:11-cr-00339-AWI-BAM Document 55 Filed 06/22/12 Page 2 of 2


1                                                   ORDER
2
3             GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
4    appearance may be waived at any and all non-substantive pretrial proceedings until further
5    order.
6                 IT IS SO ORDERED.
7                   Dated:          June 22, 2012           /s/ Dennis L. Beck
     3b142a                                           UNITED STATES MAGISTRATE JUDGE
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     Garcia-Salas: Rule 43 waiver                    -2-
